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1
                                 UNITED STATES DISTRICT COURT
2

3                                       DISTRICT OF NEVADA

4    UNITED STATES OF AMERICA,                          Case No.: 2:08-cr-00064-JCM-GWF
5                  Plaintiff,
6                                                       ORDER APPOINTING COUNSEL
     vs.
7
     STEVEN GRIMM,
8
                    Defendant.
9

10

11          Consistent with the order directing the appointment of counsel, (ECF No. 869), I appoint

12   JAMES I. HOFFMAN to assist STEVEN GRIMM in pursuing relief under 28 U.S.C. § 2255 and
13
     Compassionate Release under 18 U.S.C. § 3582(c)(1)(A). Counsel may file any petitions, motions,
14
     or applications related to these tasks. The United States Probation Office is authorized to disclose
15
     GRIMM’s Presentence Investigation Report to his appointed counsel.
16

17          DATED January
                  this ___ 26,
                           day2022.
                               of January 2022.

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                                                                  JAMES C. MAHAN
20                                                          UNITED STATES DISTRICT JUDGE

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